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                      6     Attorneys for Michael J. Avenatti
                      7

                      8                                 UNITED STATES DISTRICT COURT
                      9                              CENTRAL DISTRICT OF CALIFORNIA
                    10

                    11      In re                                        Case No. 8:18-cv-01644 VAP (KESx)
                    12      EAGAN AVENATTI, LLP
                    13                                                   MICHAEL AVENATTI'S OBJECTION
                                              Debtor.                    TO JUDGMENT DEBTOR
                    14                                                   EXAMINATION

                    15

                    16                                                   DATE: March 22, 2019
                                                                         TIME: 9:30 am
                    17                                                   PLACE: Courtroom 8A
                                                                                350 West 1st Street
                    18                                                          Los Angeles, CA 90012
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                      1            Pursuant to docket number 60 in the above-captioned matter, Michael J. Avenatti

                      2     ("Avenatti"), by and through its counsel, brings this objection (the "Objection") to Avenatti's

                      3     judgment debtor examination (the "JDE") to be conducted by judgment creditor Jason Frank Law,

                      4     PLC ("Judgment Creditor") and respectfully represents the following:

                      5                                                      I.

                      6                                               ARGUMENT

                      7            Avenatti brings this objection to address two discreet and compartmentalized issues raised

                      8     by the Court in docket number 60: (1) Avenatti's arguments as to why the JDE should not proceed

                      9     on March 22, 2019; and (2) Avenatti's argument as to why the JDE should not be conducted

                    10      publicly. Turning first to Avenatti's arguments as to why the JDE should not proceed as scheduled:

                    11      The Judgment Creditor conducted a separate multi-hour judgment debtor examination in state

                    12      court (the "State JDE") exactly one week prior to the date the JDE is currently scheduled to occur.

                    13      Tellingly, the document requests in the State JDE and the JDE appear to largely overlap – creating

                    14      the inference that the State JDE and the JDE are going to be largely duplicative, burdensome and

                    15      harassing. Despite numerous objections asserted to questions posed regarding assets and liabilities

                    16      of non-debtor third parties, including Eagan Avenatti, the Court overruled same and counsel spent

                    17      most of the day inquiring into the issues that should have waited until March 22, 2019. Taking the

                    18      analysis one step further – a receiver was recently appointed in this action, seriously calling into

                    19      question the utility of the JDE at this precise moment in time. It is unclear how the JDE will aid

                    20      in the enforcement and collection of the judgment held by the Judgment Creditor when that creditor

                    21      is precluded from foreclosing on property under the purview of the receiver's control. To be clear,

                    22      Avenatti has no objection to participating in a judgment debtor examination arising in the instant

                    23      action – but common sense and judicial economy dictates such a judgment debtor examination be

                    24      tabled until actually necessary.

                    25             Turning finally to Avenatti's argument as to why the JDE should not be conducted

                    26      publically:   Avenatti made numerous objections to the disclosure of confidential, private,

                    27      proprietary, and/or privileged third-party information sought vis-à-vis the State JDE. Plaintiff's

                    28      counsel invited the press to make a public spectacle. One reporter attempted to record the
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                      1     proceeding, which is a violation of law. In light of the objections, the state court ordered Avenatti

                      2     back on April 22, 2019 (the date of the hearing on Avenatti's motion for protective order) to

                      3     continue with his State JDE to the extent permissible. Avenatti believes that this is not only an

                      4     alternative basis for continuing the date of the JDE, but also a basis to exclude the public from the

                      5     JDE to avoid the entirely unnecessary dissemination of confidential, private, proprietary, and/or

                      6     privileged third-party information.

                      7                                                      II.

                      8                                              CONCLUSION

                      9            Based upon the aforementioned, Avenatti respectfully submits that: (1) the JDE should not

                    10      proceed as scheduled, but rather, should be taken off calendar until a point-in-time where it would

                    11      actually aid in the Judgment Creditor's collection/enforcement; or in the alternative (2) the JDE

                    12      should not proceed as scheduled until a time subsequent to the conclusion of the State JDE; or in

                    13      the alternative (3) the public should be excluded from the JDE so as to avoid the unnecessary

                    14      dissemination of confidential, private, proprietary, and/or privileged third-party information.

                    15

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                                                                   SHULMAN HODGES & BASTIAN LLP
                    17

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                                                                           /s/ Ryan D. O'Dea
                    19        Dated: March 20, 2019                By:
                                                                         Leonard M. Shulman
                    20                                                   Ronald S. Hodges
                                                                         Ryan D. O'Dea
                    21                                                   Attorneys for Michael J. Avenatti
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                                                                PROOF OF SERVICE
                       1
                                                                Eagan Avenatti, LLP
                       2                                     8:18-cv-01644 VAP (KESx)
                       3 STATE OF CALIFORNIA, COUNTY OF ORANGE

                       4        At the time of service, I was over 18 years of age and not a party to this action. I am
                         employed in the County of Orange, State of California. My business address is 100 Spectrum Center
                       5 Drive, Suite 600, Irvine, CA 92618.

                       6        On March 20, 2019, I served true copies of the following document(s) described as Michael
                         Avenatti's Objection to Judgment Debtor Examination on the interested parties in this action as
                       7 follows:

                       8                                 SEE ATTACHED SERVICE LIST
                       9         BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                        persons at the addresses listed in the Service List and placed the envelope for collection and mailing,
                     10 following our ordinary business practices. I am readily familiar with the practice of Shulman
                        Hodges & Bastian LLP for collecting and processing correspondence for mailing. On the same day
                     11 that correspondence is placed for collection and mailing, it is deposited in the ordinary course of
                        business with the United States Postal Service, in a sealed envelope with postage fully prepaid. I
                     12 am a resident or employed in the county where the mailing occurred. The envelope was placed in
                        the mail at Irvine, California.
                     13
                                 I declare under penalty of perjury under the laws of the State of California that the foregoing
                     14 is true and correct.

                     15          Executed on March 20, 2019, at Irvine, California.
                     16

                     17                                                            /s/ Lori Gauthier
                     18                                                     Lori Gauthier

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                                                                 SERVICE LIST
                       1                                       Eagan Avenatti, LLP
                                                            8:18-cv-01644 VAP (KESx)
                       2
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                       3 Michael J. Avenatti                            James R. Selth
                         Avenatti LLP                                   Weintraub and Selth APC
                       4 520 Newport Center Drive, Suite 1400           11766 Wilshire Blvd., Suite 1170
                         Newport Beach, CA 92660                        Los Angeles, CA 90025
                       5

                       6 Jason Frank Law, PLC                           Jason Frank Law, PLC
                         Andrew D. Stolper                              Sara L. Chenetz
                       7 Frank Sims and Stolper LLP                     Perkins Coie LLP
                         19800 MacArthur Blvd., Suite 855               1888 Century Park East, Suite 1700
                       8 Irvine, CA 92612                               Los Angeles, CA 90067
                      9 Jason Frank Law, PLC                            Brian Weiss, Receiver
                        Scott Howard Sims                               c/o John P. Reitman
                     10 Frank Sims and Stolper LLP                      Landau Gottfried & Berger LLP
                        19800 MacArthur Blvd., Suite 855                1801 Century Park East, Suite 700
                     11 Irvine, CA 92612                                Los Angeles, CA 90067
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